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14

15                           UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
     ANTHONY BROWN, SR.,                   CASE NO.: CV13-02620 PSG-CFE
18
                                           Hon. Philip S. Gutierrez – Ctrm. 6A (First
19              Plaintiff,                 Street Courthouse)
                                           Hon. Mag. Charles F. Eick – Ctrm. 23, 3rd
20        vs.
                                           Flr.
21   VERONICA CONRADO, et al.,
22
                                           JOINT STIPULATION TO REOPEN
                Defendants.                DISCOVERY AND CONTINUE TRIAL
23                                         DATE AND VACATE RELATED
24
                                           PRETRIAL DATES

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          JOINT STIPULATION TO CONTINUE TRIAL DATE AND VACATE RELATED PRETRIAL DATES
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 1         Plaintiff Anthony Brown, Sr. (“Plaintiff”) and Defendants Veronica Conrado and
 2   Juan Guerra (“Defendants”), by and through their undersigned counsel, hereby stipulate
 3   to reopen discovery in this matter and to continue the October 6, 2022 trial date to
 4   January 12, 2023, or the next available date thereafter:
 5         WHEREAS, on May 10, 2013, Plaintiff initiated this action, asserting claims
 6   under 42 U.S.C. § 1983;
 7         WHEREAS, this case is set for trial on October 6, 2022, with a pretrial conference
 8   on calendar for September 30, 2022;
 9         WHEREAS, Plaintiff seeks to reopen discovery in order to take the deposition of
10   Los Angeles County Sheriff’s Deputy Kelly Marchello, who was the bailiff in his
11   underlying criminal case; and
12         WHEREAS, once that deposition is completed, Plaintiff agrees to dismiss this
13   entire action with prejudice; and
14         WHEREAS, the parties seek a continuance of trial and pretrial dates to effectuate
15   that arrangement.
16         NOW, THEREFORE, pursuant to Local Rule 7-1, the parties hereby stipulate
17   and respectfully request that discovery be reopened to allow Plaintiff to take Deputy
18   Kelly Marchello’s deposition, and the trial date be continued to January 12, 2023, or
19   the next available date thereafter that is convenient for the Court. The parties further
20   stipulate that all pretrial dates associated with the existing October 6, 2022 trial date be
21   vacated.
22
     Dated: September 19, 2022         WINSTON & STRAWN LLP
23

24                               By: /s/ Paul B. Salvaty
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26                                 Angela M. Machala (SBN: 224496)
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27                                 Attorneys for Plaintiff, ANTHONY BROWN, SR.
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           JOINT STIPULATION TO CONTINUE TRIAL DATE AND VACATE RELATED PRETRIAL DATES
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 1                          By: /s/ Emily Cohen
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 2                            SCOTT MARCUS, Chief Assistant City Attorney
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 4                            and JUAN GUERRA
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         JOINT STIPULATION TO CONTINUE TRIAL DATE AND VACATE RELATED PRETRIAL DATES
